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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    IN RE:                                              Case No. 13-md-02420-YGR (DMR)

                                   8
                                        LITHIUM ION BATTERIES                               ORDER ON JOINT DISCOVERY
                                   9    ANTITRUST LITIGATION                                LETTER
                                  10                                                        Re: Dkt. No. 745

                                  11

                                  12          Plaintiffs and Defendants LG Chem Ltd. and LG Chem America, Inc. (collectively, “LG
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                                  13   Chem”) filed a joint letter brief in which Plaintiffs move to compel LG Chem to supplement its

                                  14   response to an interrogatory. The court held a hearing on August 13, 2015. For the following

                                  15   reasons, as well as those stated at the hearing, Plaintiff’s motion to compel is granted.

                                  16                                              I. Background

                                  17          In July 2013, the United States Department of Justice charged LG Chem, Ltd. with

                                  18   violating Section 1 of the Sherman Act, 15 U.S.C. § 1, by engaging in a criminal conspiracy to fix

                                  19   the prices of cylindrical lithium ion battery cells sold in the United States and elsewhere for use in

                                  20   notebook computer battery packs. (United States v. LG Chem, Ltd., No. 13-cr-0473 YGR (N.D.

                                  21   Cal. July 18, 2013) Information.) LG Chem, Ltd. entered into a plea agreement in September

                                  22   2013. At the October 10, 2013 plea hearing, LG Chem, Ltd.’s representative, Heung Ryul Yoon,

                                  23   Vice President/Legal Department, testified that officers within LG Chem, Ltd.’s battery division

                                  24   participated in “about 20 or 30” discussions or meetings related to the charged conspiracy.

                                  25          In March 2015, the undersigned ordered LG Chem, Ltd. to amend its response to an

                                  26   interrogatory propounded by Plaintiffs asking for “all facts” which supported the guilty plea. With

                                  27   respect to Yoon’s testimony regarding the “20 or 30” discussions or meetings pertaining to the

                                  28   conspiracy, the court ordered LG Chem, Ltd. to “identify when and where they took place; which
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                                   1   individuals were present, including the companies they represented and their job titles; and the

                                   2   subjects discussed by the participants.” In re: Lithium Ion Batteries Antitrust Litig., No. 13-MD-

                                   3   02420 YGR (DMR), 2015 WL 1223972, at *3 (N.D. Cal. March 17, 2015).

                                   4             The dispute in the instant joint letter pertains to LG Chem’s response to Plaintiffs’

                                   5   Interrogatory No. 2, Set 2. It asks for information about LG Chem’s meetings and

                                   6   communications with other lithium ion battery producers that occurred during the alleged class

                                   7   period, as follows:

                                   8                    Identify meetings or communications during the Relevant Time
                                                        Period between (i) You and other producer(s) or seller(s) of Lithium
                                   9                    Ion Battery cells and/or Lithium Ion Batteries, including the named
                                                        Defendants in this coordinated proceeding (but not including Your
                                  10                    corporate subsidiaries) regarding Lithium Ion Battery Cells and/or
                                                        Lithium Ion Batteries pricing, price increase announcements, terms
                                  11                    or conditions of sales, profit margins or market share,
                                                        production/output levels, inventory, customers, or sales. “Identify”
                                  12                    means to provide the date of the meeting or communication, name
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                                                        the person(s) who attended and/or participated in the meeting or
                                  13                    communication, and describe the subject matter discussed and any
                                                        information You provided or received.
                                  14
                                       (Joint Letter Ex. A part 1.)
                                  15
                                                 In response, LG Chem provided a chart identifying 63 separate meetings or
                                  16
                                       communications, and listing the date, name and affiliation of attendees, as well as the type of
                                  17
                                       contact (e.g., meeting, email, telephone call) for each. In lieu of listing the “subject matter
                                  18
                                       discussed and any information . . . provided or received,” and in reliance on Federal Rule of Civil
                                  19
                                       Procedure 33(d), LG Chem directed Plaintiffs to over 1,700 pages1 it had produced, “which reflect
                                  20
                                       the subject matter discussed in the previously identified meetings and conversations.” (Joint
                                  21
                                       Letter Ex. A part 2.) Plaintiffs challenge this response as evasive and incomplete because it does
                                  22
                                       not include the subjects discussed and any information provided or received for each meeting or
                                  23
                                       communication identified by LG Chem.2
                                  24

                                  25   1
                                        At the hearing, LG Chem clarified that the Bates range of documents identified in its response,
                                  26   LGC-MDL0000001-0001725, consists of 278 individual documents (which may be multiple
                                       pages) and their English translations, which altogether comprise the approximately 1700 pages.
                                  27   2
                                           Plaintiffs represented that they had served the same interrogatory on the other defendants, all of
                                  28                                                        2
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                                   1                                            II. Legal Standard

                                   2          When served with interrogatories, the responding party must serve its answers and any

                                   3   objections within 30 days. Fed. R. Civ. P. 33(b)(2). “Each interrogatory must, to the extent it is

                                   4   not objected to, be answered separately and fully in writing under oath.” Fed. R. Civ. P. 33(b)(3)

                                   5   (emphasis added). An answer to an interrogatory should be complete in itself:

                                   6                  [A]n answer to an interrogatory must be responsive to the question.
                                                      It should be complete in itself and should not refer to the pleadings,
                                   7                  or to depositions or other documents, or to other interrogatories, at
                                                      least where such references make it impossible to determine whether
                                   8                  an adequate answer has been given without an elaborate comparison
                                                      of answers.
                                   9
                                       Scaife v. Boenne, 191 F.R.D. 590, 594 (N.D. Ind. 2000) (citations and quotation marks omitted).
                                  10
                                       However, if an answer to an interrogatory may be determined by “examining, auditing, compiling,
                                  11
                                       abstracting, or summarizing a party’s business records . . . , and if the burden of deriving or
                                  12
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                                       ascertaining the answer will be substantially the same for either party, the responding party may
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                                  13
                                       answer by . . . specifying the records that must be reviewed, in sufficient detail to enable the
                                  14
                                       interrogating party to locate and identify them as readily as the responding party could . . . .” Fed.
                                  15
                                       R. Civ. P. 33(d).
                                  16
                                                                                  III. Discussion
                                  17
                                              LG Chem contends that its response to Interrogatory No. 2, Set 2 is sufficient. It argues
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                                       that it properly relied upon Rule 33(d) by identifying particular documents in lieu of providing a
                                  19
                                       written response to a portion of the interrogatory. LG Chem further asserts that Plaintiffs should
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                                       obtain the requested material through deposition, which is a more appropriate discovery vehicle
                                  21
                                       for the information sought. Finally, LG Chem argues that it has already identified the subject
                                  22
                                       matter of the meetings per the interrogatory’s own terms and is not obligated to respond further.
                                  23
                                              Pursuant to Rule 33(d), a party’s response to an interrogatory may refer to business records
                                  24
                                       or abstracts only “if the burden of deriving or ascertaining the answer will be substantially the
                                  25
                                       same for either party.” Fed. R. Civ. Pro. 33(d). “A requesting party claiming an inappropriate use
                                  26
                                  27
                                       whom responded in an adequate manner, and without resort to Rule 33(d).
                                  28                                                3
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                                   1   of Rule 33(d) must make a prima facie showing that the use of Rule 33(d) is somehow inadequate,

                                   2   whether because the information is not fully contained in the documents or because it is too

                                   3   difficult to extract.” RSI Corp. v. Int’l Bus. Machines Corp., No. 08–CV–3414 RMW, 2012 WL

                                   4   3095396, at *1 (N.D. Cal. July 30, 2012) (internal citations omitted). The burden then shifts to the

                                   5   responding party to show that “(1) a review of the documents will actually reveal answers to the

                                   6   interrogatories; and (2) the burden of deriving the answer is substantially the same for the party

                                   7   serving the interrogatory as for the party served.” Id. (citation omitted).

                                   8          Here, Plaintiffs argue that they cannot derive complete answers to the interrogatory from

                                   9   the referenced documents for two reasons. First, they claim that the authors of internal emails

                                  10   recognized that they needed to be “circumspect about what they put in writing,” promising to

                                  11   share details in person that were not included in the emails. (Joint Letter 3.) For example, in one

                                  12   email chain, a writer stated that he or she would provide “more details” and “additional reports” in
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                                  13   person, to which another writer mentioned “internal and external security regarding the email” in

                                  14   response. (Joint Letter 3 (citing LGC-MDL0000571-74).) Another person stated in an email that

                                  15   he or she would “share additional information on the phone.” (LGC-MDL0000305.) Therefore,

                                  16   the authors of the documents themselves acknowledge that the writings are incomplete. Second,

                                  17   the authors of the emails used code names and symbols to refer to competitors, effectively

                                  18   frustrating outsiders’ attempts to comprehend the communications. The court finds that Plaintiffs

                                  19   have made a prima facie showing that LG Chem’s use of Rule 33(d) is inadequate because the

                                  20   information is not fully contained in the documents and may be difficult to extract.

                                  21          The burden thus shifts to LG Chem to demonstrate that a review of the documents will

                                  22   reveal answers to the interrogatory, and that the burden of deriving the answers is substantially the

                                  23   same for either party. LG Chem does not dispute Plaintiffs’ characterization of the documents as

                                  24   cryptic and alluding to unwritten details. Instead, it argues that to the extent the emails contain

                                  25   codes, such codes do not pertain to the information sought by Plaintiffs’ interrogatory. Therefore,

                                  26   decoding is not necessary to understand the responsive information contained in the documents.

                                  27   LG Chem also asserts that to the extent witness testimony is required to fill in the gaps, such as

                                  28                                                     4
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                                   1   furnishing the details that the email authors promised to provide in person or over the phone,

                                   2   Plaintiffs can depose the necessary individuals. (Joint Letter 7.) As to the burden associated with

                                   3   obtaining answers from the documents, LG Chem states that the identified documents are the very

                                   4   same ones it would review in order to provide the supplemental responses sought by Plaintiffs in

                                   5   this dispute. Therefore, LG Chem argues, the burden on either party to ascertain the answers from

                                   6   the documents is equal.

                                   7          LG Chem’s arguments are unpersuasive. Its assertion that Plaintiffs can obtain the missing

                                   8   information through deposition is a concession that the documents themselves do not contain all of

                                   9   the responsive material. That alone is fatal to LG Chem’s Rule 33(d) argument, since reference to

                                  10   the identified documents is admittedly insufficient. It is LG Chem’s burden to show that the

                                  11   documents contain complete answers to the interrogatory. See In re Sulfuric Acid Antitrust Litig.,

                                  12   231 F.R.D. 320, 325 (N.D. Ill. 2005) (“Invocation of [Rule 33(d)] requires first that the
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                                  13   information actually be obtainable from the documents.”). While some pertinent information may

                                  14   be found in the documents, this is not enough: Plaintiffs are entitled to a complete response. See

                                  15   id. at 326 (granting motion to compel further response to interrogatory that asked for information

                                  16   about communications with other producers, suppliers, or distributors; noting that “even if a

                                  17   partial answer could be obtained from [reviewing documents identified by defendant], the

                                  18   plaintiffs are entitled to complete disclosure”).

                                  19          LG Chem argues that depositions are the more appropriate vehicle for obtaining the

                                  20   discovery now sought by Plaintiffs. According to LG Chem, Plaintiffs plan to depose at least

                                  21   three current or former LG Chem employees who participated in the communications, and

                                  22   Plaintiffs are free to ask these individuals for details about the contacts. LG Chem cites cases in

                                  23   which courts have held that written interrogatories are an inadequate substitution for depositions

                                  24   when the “goal is discovery of a witness’ recollection of conversations.” (Joint Letter 6 (citing,

                                  25   e.g., Shoen v. Shoen, 5 F.3d 1289, 1297 (9th Cir. 1992)).) However, such cases are

                                  26   distinguishable, in that the parties propounding the interrogatories in question sought detailed,

                                  27   narrative descriptions of communications, rather than the kind of summary information sought by

                                  28                                                       5
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                                   1   Plaintiffs here, as discussed below. Moreover, while depositions may be necessary to flesh out the

                                   2   details of the communications, the interrogatory response may assist Plaintiffs in deciding how

                                   3   best to allocate their limited deposition opportunities.

                                   4          Finally, LG Chem argues that it has already identified the subject matter of the meetings

                                   5   per the interrogatory’s own terms. The interrogatory asks LG Chem to identify meetings or

                                   6   communications regarding specific subjects, e.g., pricing, price increase announcements, terms or

                                   7   conditions of sales, and production/output levels. LG Chem contends that by definition, it has

                                   8   “identified” the subject matter by including a particular meeting or communication as responsive

                                   9   to the interrogatory. This argument is not compelling. Without more, Plaintiffs are not able to

                                  10   discern which of the enumerated subjects were discussed at particular meetings.

                                  11          For these reasons, the court finds that LG Chem’s use of Rule 33(d) to respond to

                                  12   Plaintiffs’ interrogatory is inappropriate. LG Chem must supplement its response to identify the
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                                  13   subject matter discussed and any information LG Chem provided or received in each meeting or

                                  14   communication. LG Chem need not prepare detailed narrative responses. At the hearing,

                                  15   Plaintiffs confirmed that their interrogatory seeks fairly generalized information. The court finds

                                  16   that LG Chem’s response to an earlier interrogatory provides a good example of the appropriate

                                  17   level of detail required here. (Aug. 13, 2015 Hr’g Tr. at 12: “Panasonic shared information about

                                  18   various topics, including production facilities, capacity, product development, quality

                                  19   improvements, its lack of Korean customers, and its concern about cobalt prices.”)

                                  20                                              IV. Conclusion

                                  21          For the foregoing reasons, Plaintiffs’ motion to compel is granted. At the conclusion of the

                                  22   hearing, the court ordered LG Chem to provide a supplemental response to Interrogatory No. 2,
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                                  23   Set 2 by no later than August 27, 2015.                        T ES D          TC
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                                  24          IT IS SO ORDERED.
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